               Case 17-50043             Doc 60        Filed 07/25/18   EOD 07/30/18 11:24:02   Pg 1 of 1


                                          UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF Southern Indiana

                                                        Minute Entry/Order
Hearing Information:
                         Debtor:   S&S STEEL SERVICES, INC.
                  Case Number:     15-07401-JJG-7A                Chapter: 7

          Date / Time / Room:      WEDNESDAY, JULY 25, 2018 10:00 AM IP 311

         Bankruptcy Judge:         JEFFREY J. GRAHAM
               Courtroom Clerk:    HEATHER HEISER-DAVIS
                Reporter / ECR:    HEATHER HEISER-DAVIS                                                       0.00


Matter:
              ADV: 1-17-50043
              Randall L Woodruff vs Barry Sharp
              Final Pretrial Conference: Complaint [1],[22]
              R / M #:   0/ 0
              VACATED: Per Order Granting Joint Motion for Mediation entered 5/8/2018


Appearances:

        none

Proceedings:                                                                                           1.00


        Vacated: Per Order Granting Joint Motion for Mediation entered 5/8/2018

IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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